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             IN THE UNITED       STATES    DISTRICT     COURT    FOR THE
                       SOUTHERN DISTRICT OF            GEORGIA
                                 AUGUSTA DIVISION


UNITED      STATES   OF AMERICA             *


       v.                                   *     CR    113-220-3


EDUARDO     JUAREZ   GALLEGOS               *




                                    ORDER




       On November 23, 2016, Defendant Gallegos filed a motion

for    reconsideration       of    this     Court's     denial        of   a   sentence


reduction        pursuant   to    Amendment      782    to   the      United     States

Sentencing Guidelines, which implemented a two-level offense

level reduction to a majority of the offense levels assigned

to    the   drug quantities        set     forth in     Section 2D1.1 of            the

Guidelines,        U.S.S.G. App. C, amend. 782.              Defendant Gallegos

states that this Court Mid not adequately explain the reason

for denying the motion."             (Doc. 498, f 1.)

       To the contrary, in its Order of June 3, 2016, the Court

stated that Defendant was sentenced after the effective date

of Amendment 782 and therefore already had the benefit of the

two level reduction.             (Doc. 481,     at 2.)1      Amendment 782 took

effect      on   November   1,     2014.        Defendant       was    sentenced     on

January 21, 2015, and therefore had the full benefit of the



       1 The Clerk is instructed to provide Defendant a copy of
the two-page Order of June 3, 2016, with the service copy of
this Order.
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changes occasioned by Amendment 782.        Accordingly, the motion

for reconsideration (doc. 4 98)     is DENIED.

     ORDER ENTERED at Augusta, Georgia,       this       6*          day

of January,   2017.




                                   HONOR^Bid? J. RA/DAL HALL
                                   UNITED   STATES   DISTRICT   JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
